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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        October 07, 2024
                     UNITED STATES DISTRICT COURT
                                                                       Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

BRIANNE DRESSEN, et al.,                §
                                        §
       Plaintiffs,                      §
                                        §
VS.                                     §              3:23-cv-155
                                        §
ROBERT FLAHERTY, et al.,                §
                                        §
       Defendants.                      §

                                    ORDER
       Before the court is the defendants’ unopposed motion to vacate all

pending deadlines so that all individual-capacity defendants have time to

obtain representation. Dkt. 43. The motion is granted.

       It is further ordered that the parties shall file a Joint Status Report on

or before November 4, 2024.

       Signed on Galveston Island this 7th day of October, 2024.




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                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE




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